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Case 2:19-cv-00522-BJR Document 64 Filed 01/11/21 Page 1of11

IN THE UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON

HOLLY REIN,
Plaintiff,
v.
THRIFTY PAYLESS, INC., d/b/a RITE AID
PHARMACY, and RITE AID LEASE

MANAGEMENT COMPANY, d/b/a RITE
AID,

Defendants.

 

THRIFTY PAYLESS, INC., d/b/a RITE AID
PHARMACY, and RITE AID LEASE
MANAGEMENT COMPANY, d/b/a RITE
AID,

Third-Party Plaintiffs,
Vv.

DURO HILEX POLY, LLC, a Delaware
corporation,

Third-Party Defendants.

 

 

1, PURPOSES AND LIMITATIONS

Page 1 - STIPULATED PROTECTIVE ORDER

Civil Case No. 2:19-cv-00522

STIPULATED PROTECTIVE ORDER

Hodgkinson
Street
Mepham, LLC

1620 SW Taylor
Sulte 350

Portland, OR 97205
(503) 222-1143
(503) 222-1296 (fax}
Case 2:19-cv-00522-BJR Document 64 Filed 01/11/21 Page 2 of 11

1 Discovery in this action is likely to involve production of confidential, proprietary, or
2 private information for which special protection may be warranted, Accordingly, the parties hereby

stipulate to and petition the court to enter the following Stipulated Protective Order. The parties

3

acknowledge that this agreement is consistent with LCR 26(c). It does not confer blanket
4

protection on all disclosures or responses to discovery, the protection it affords from public
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disclosure and use extends only to the limited information or items that are entitled to confidential
© treatment under the applicable legal principles, and it does not presumptively entitle parties to file
7 confidential information under seal.

g 2. “CONFIDENTIAL” MATERIAL

“Confidential” material shall include the following documents and tangible things

9
10 produced or otherwise exchanged: Records regarding the purchase or sale of a company and
commercially sensitive business information or data which is not publicly known and cannot be

11
ascertained from an inspection of publicly available documents, materials or devices. By way of

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example only, “Confidential Information” may include trade secrets, customer lists, know-how,
13 proprietary data, design and manufacturing information, or employment, marketing, contract,
14 financial, or negotiated information, or other similarly sensitive information which the Designating
15 Party either maintains in confidence or as to which the unprotected disclosure might result in

economic or competitive injury, and which is not publicly known and cannot be ascertained from

16
W an inspection of publicly available documents, materials, or devices.
3. SCOPE
18
The protections conferred by this agreement cover not only confidential material (as
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defined above), but also (1) any information copied or extracted from confidential material; (2) all
20 copies, excerpts, summaries, or compilations of confidential material; and (3) any testimony,

21 conversations, or presentations by parties or their counsel that might reveal confidential material.

2 However, the protections conferred by this agreement do not cover information that is in
33 the public domain or becomes part of the public domain through trial or otherwise.
Page 2 - STIPULATED PROTECTIVE ORDER Hodgkinson seme sey or

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1 4. ACCESS TO AND USE OF CONFIDENTIAL MATERIAL

2 4.1 Basic Principles. A receiving party may use confidential material that is disclosed
3 0 produced by another party or by a non-party in connection with this case only for prosecuting,

defending, or attempting to settle this litigation. Confidential material may be disclosed only to the
* categories of persons and under the conditions described in this agreement. Confidential material
5

must be stored and maintained by a receiving party at a location and in a secure manner that ensures
6 that access is limited to the persons authorized under this agreement.

7 4.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered
g _ by the court or permitted in writing by the designating party, a receiving party may disclose any
9 confidential material only to:

(a) the receiving party’s counsel of record in this action, as well as employees

10
of counsel to whom it is reasonably necessary to disclose the information for this litigation;
11
(b) the officers, directors, and employees (including in house counsel) of the
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receiving party to whom disclosure is reasonably necessary for this litigation, unless the parties
13 agree that a particular document or material produced is for Attorney’s Eyes Only and is so

14 designated;

15 (c) experts and consultants to whom disclosure is reasonably necessary for this
16 litigation and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
7 (d) the court, court personnel, and court reporters and their staff;

(e) copy or imaging services retained by counsel to assist in the duplication of
8 confidential material, provided that counsel for the party retaining the copy or imaging service
19

instructs the service not to disclose any confidential material to third parties and to immediately
20 return all originals and copies of any confidential material;

21 (f) during their depositions, witnesses in the action to whom disclosure is
49 reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”

74 (Exhibit A), unless otherwise agreed by the designating party or ordered by the court. Pages of

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1 transcribed deposition testimony or exhibits to depositions that reveal confidential material must
4 be separately bound by the court reporter and may not be disclosed to anyone except as permitted

under this agreement;

3
(g) the author or recipient of a document containing the information or a
4
custodian or other person who otherwise possessed or knew the information.
5

4.3 Filing Confidential Material. Before filing confidential material or discussing or
6 referencing such material in court filings, the filing party shall confer with the designating party,
7 in accordance with Local Civil Rule 5(g)(3)(A), to determine whether the designating party will
g remove the confidential designation, whether the document can be redacted, or whether a motion

to seal or stipulation and proposed order is warranted. During the meet and confer process, the

9
10 designating party must identify the basis for sealing the specific confidential information at issue,
and the filing party shall include this basis in its motion to seal, along with any objection to sealing

11
the information at issue. Local Civil Rule 5(g) sets forth the procedures that must be followed and

12

the standards that will be applied when a party seeks permission from the court to file material
13 under seal. A party who seeks to maintain the confidentiality of its information must satisfy the
14 requirements of Local Civil Rule 5(g)(3)(B), even if it is not the party filing the motion to seal.
15 Failure to satisfy this requirement will result in the motion to seal being denied, in accordance with

the strong presumption of public access to the Court’s files,

 

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i 5. DESIGNATING PROTECTED MATERIAL
5.1 Exercise of Restraint and Care in Designating Material for Protection. Each party
18
or non-party that designates information or items for protection under this agreement must take
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care to limit any such designation to specific material that qualifies under the appropriate
20 standards. The designating party must designate for protection only those parts of material,
21 documents, items, or oral or written communications that qualify, so that other portions of the
97 material, documents, items, or communications for which protection is not warranted are not swept

74 unjustifiably within the ambit of this agreement.

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I Mass, indiscriminate, or routinized designations are prohibited. Designations that are
4 shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

unnecessarily encumber or delay the case development process or to impose unnecessary expenses

3

and burdens on other parties) expose the designating party to sanctions.
* If it comes to a designating party’s attention that information or items that it designated for
° protection do not qualify for protection, the designating party must promptly notify all other parties
© that it is withdrawing the mistaken designation.
7 5.2 Manner and Timing of Designations. Except as otherwise provided in this

 

8 agreement (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or

ordered, disclosure or discovery material that qualifies for protection under this agreement must

 

9
10 be clearly so designated before or when the material is disclosed or produced.
(a) Information in documentary form: (e.g., paper or electronic documents and
11
deposition exhibits, but excluding transcripts of depositions or other pretrial or trial proceedings),
12

the designating party must affix the word “CONFIDENTIAL” to each page that contains
13 confidential material, If only a portion or portions of the material on a page qualifies for protection,
14 the producing party also must clearly identify the protected portion(s) (e.g., by making appropriate
15 markings in the margins).

16 (b) ‘Testimony given in deposition or in other pretrial proceedings: the parties

and any participating non-parties must identify on the record, during the deposition or other pretrial

17

proceeding, all protected testimony, without prejudice to their right to so designate other testimony
18

after reviewing the transcript. Any party or non-party may, within fifteen days after receiving the
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transcript of the deposition or other pretrial proceeding, designate portions of the transcript, or
20 exhibits thereto, as confidential. Ifa party or non-party desires to protect confidential information

21 at trial, the issue should be addressed during the pre-trial conference,

7 (c) Other tangible items: the producing party must affix in a prominent place
73 on the exterior of the container or containers in which the information or item is stored the word
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1 “CONFIDENTIAL.” If only a portion or portions of the information or item warrant protection,

4 _ the producing party, to the extent practicable, shall identify the protected portion(s).

5.3. Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

 

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designate qualified information or items does not, standing alone, waive the designating party’s
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right to secure protection under this agreement for such material. Upon timely correction of a
5 was

designation, the receiving party must make reasonable efforts to ensure that the material is treated
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in accordance with the provisions of this agreement.

7 6, CHALLENGING CONFIDENTIALITY DESIGNATIONS

8 6.1 Timing of Challenges. Any party or non-party may challenge a designation of

9 confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality

10 designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

burdens, or a significant disruption or delay of the litigation, a party does not waive its right to

0 challenge a confidentiality designation by electing not to mount a challenge promptly after the
Le original designation is disclosed.

13 6.2 Meet and Confer. The parties must make every attempt to resolve any dispute

14 regarding confidential designations without court involvement. Any motion regarding confidential
15 designations or for a protective order must include a certification, in the motion or in a declaration

or affidavit, that the movant has engaged in a good faith meet and confer conference with other

16
7 affected parties in an effort to resolve the dispute without court action. The certification must list
the date, manner, and participants to the conference. A good faith effort to confer requires a face-
18
to-face meeting or a telephone conference,
19

6.3. Judicial Intervention. If the parties cannot resolve a challenge without court
20 intervention, the designating party may file and serve a motion to retain confidentiality under Local
21 Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable), The burden of
92 ‘persuasion in any such motion shall be on the designating party. Frivolous challenges, and those

73 made for an improper purpose (e.g., to harass or impose unnecessary expenses and burdens on

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1 other parties) may expose the challenging party to sanctions. All parties shall continue to maintain

9 the material in question as confidential until the court rules on the challenge.

7. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

 

LITIGATION

* If a party is served with a subpoena or a court order issued in other litigation that compels
° disclosure of any information or items designated in this action as “CONFIDENTIAL,” that party
6 must;

7 (a) promptly notify the designating party in writing and include a copy of the

8 subpoena or court order;

(b) promptly notify in writing the party who caused the subpoena or order to

9
10 issue in the other litigation that some or all of the material covered by the subpoena or order is
subject to this agreement. Such notification shall include a copy of this agreement; and
Il
(c) cooperate with respect to all reasonable procedures sought to be pursued by
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the designating party whose confidential material may be affected.

13g. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

14 If a receiving party learns that, by inadvertence or otherwise, it has disclosed confidential
15 material to any person or in any circumstance not authorized under this agreement, the receiving

party must immediately (a) notify in writing the designating party of the unauthorized disclosures,

16
17 (b) use its best efforts to retrieve all unauthorized copies of the protected material, (c) inform the
person or persons to whom unauthorized disclosures were made of all the terms of this agreement,
18
and (d) request that such person or persons execute the “Acknowledgment and Agreement to Be
19

Bound” that is attached hereto as Exhibit A.
20 9. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

21 MATERIAL

2 When a producing party gives notice to receiving parties that certain inadvertently

73 produced material is subject to a claim of privilege or other protection, the obligations of the

Page 7 - STIPULATED PROTECTIVE ORDER Hodgkinson | stesso

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i receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision

is not intended to modify whatever procedure may be established in an e-discovery order or

 

2

4 agreement that provides for production without prior privilege review. The parties agree to the
entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein,

4
10. NON TERMINATION AND RETURN OF DOCUMENTS

5

Within 60 days after the termination of this action, including all appeals, each receiving

6 party must return all confidential material to the producing party, including all copies, extracts and

7 summaries thereof. Alternatively, the parties may agree upon appropriate methods of destruction.

g Notwithstanding this provision, counsel are entitled to retain one archival copy of all
9 documents filed with the court, trial, deposition, and hearing transcripts, correspondence,
10 deposition and trial exhibits, expert reports, attorney work product, and consultant and expert work
product, even if such materials contain confidential material.
0 The confidentiality obligations imposed by this agreement shall remain in effect until a
2 designating party agrees otherwise in writing or a court orders ot
13 IT IS SO STIPULATED, THROUGH CO RECORD

“ DATED: Tan, 202 |

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DATED:

 

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Page 8- STIPULATED PROTECTIVE ORDER

   

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Of Attorneys For Defendants/Third-Party

Plaintiffs Thrifty Payless, Inc, dba Rite Aid
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receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision
is not intended to modify whatever procedure may be established in an e-discovery order or
agreement that provides for production without prior privilege review. The parties agree to the
entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein.
10. NON TERMINATION AND RETURN OF DOCUMENTS

Within 60 days after the termination of this action, including all appeals, each receiving
party must return all confidential material to the producing party, including all copies, extracts and
summaries thereof. Alternatively, the parties may agree upon appropriate methods of destruction.

Notwithstanding this provision, counsel are entitled to retain one archival copy of all

 

 

 

 

1620 SW Taylor

8
9 documents filed with the court, trial, deposition, and hearing transcripts, correspondence,
10 deposition and trial exhibits, expert reports, attorney work product, and consultant and expert work
product, even if such materials contain confidential material.
11
The confidentiality obligations imposed by this agreement shall remain in effect until a
Ia designating party agrees otherwise in writing or a court orders otherwise.
13 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
14
DATED:
15 Jason Schauer, WSBA No. 30344
The Schauer Law Offices
16 918 S. Horton St., Ste. 916
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17 P: (206) 420-7112
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18 jason@schauerlawoffices.com
Of. Gj ys For Plaintiff
19 -
DATED: (1/302 h
20 Jessica Lancaster, WSBA No. 55998
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31 121 SW Morrison Street, Suite 415
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23 Of Attorneys For Defendants/Third-Party
Plaintiffs Thrifty Payless, Inc,, dba Rite Aid
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Case 2:19-cv-00522-BJR Document 64 Filed 01/11/21 Page 10 of 11

4 1/8/2021
DATED:

 

/s/ David S. Mepham

 

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dsm @hs-legal.com

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Of Attorneys for Third-Party Defendant
Duro Hilex Poly, LLC

PURSUANT TO STIPULATION, IT IS SO ORDERED

IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production of any

documents in this proceeding shall not, for the purposes of this proceeding or any other federal or

10 state proceeding, constitute a waiver by the producing party of any privilege applicable to those

11. documents, including the attorney-client privilege, attorney work-product protection, or any other

12 privilege or protection recognized by law.

13
14 Dated this 11th day of January, 2021.
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Page 9- STIPULATED PROTECTIVE ORDER

Resae, | Mpebersia,

The Honorable Barbara J. Rothstein
United States District Court Judge

: 1620 SW Taylor
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1 EXHIBIT A

2 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

3 I, [print or type full name], of
4 [print or type full address], declare under penalty of

perjury that I have read in its entirety and understand the Stipulated Protective Order that was
issued by the United States District Court for the Western District of Washington on [date] in the
6 case of Holly Rein, Plaintiff, v. Thrifiy Payless, Inc., d/b/a Rite Aid Pharmacy, and Rite Aid Lease
7 Management Company, d/b/a Rite Aid, Defendants/Third-Party Plaintiffs, v. Duro Hilex Poly,
g LLC, a Delaware corporation, Third-Party Defendant; USDC Western District of Washington
Case No. 2:19-cv-00522 BIR. | agree to comply with and to be bound by all the terms of this

9
10 Stipulated Protective Order and I understand and acknowledge that failure to so comply could
expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I will
not disclose in any manner any information or item that is subject to this Stipulated Protective
12 Order to any person or entity except in strict compliance with the provisions of this Order.
13 I further agree to submit to the jurisdiction of the United States District Court for the

14 Western District of Washington for the purpose of enforcing the terms of this Stipulated Protective

15 Order, even if such enforcement proceedings occur after termination of this action.

 

 

 

16 Date:

7 City and State where sworn and signed:
Printed name:

18
Signature:

19

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